   Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 1 of 34




                        UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                            BROWNSVILLE DIVISION

SPACE EXPLORATION
TECHNOLOGIES CORP.,
      Plaintiff,                             Civil Action No. 1:24-cv-00001
             v.
NATIONAL LABOR RELATIONS
BOARD, a federal administrative agency,
JENNIFER ABRUZZO, in her official
capacity as the General Counsel of the
National Labor Relations Board, LAUREN
M. McFERRAN, in her official capacity as
the Chairman of the National Labor
Relations Board, MARVIN E. KAPLAN,
GWYNNE A. WILCOX, and DAVID M.
PROUTY, in their official capacities as
Board Members of the National Labor
Relations Board, and JOHN DOE in his
official capacity as an Administrative Law
Judge of the National Labor Relations
Board,
      Defendants.

           PLAINTIFF’S MOTION FOR A PRELIMINARY INJUNCTION
       Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 2 of 34




                                                   TABLE OF CONTENTS

INTRODUCTION ...........................................................................................................................1
BACKGROUND .............................................................................................................................4
ARGUMENT ...................................................................................................................................6
I.        SpaceX is likely to succeed on the merits of its constitutional claims. ...............................7
          A.         NLRB ALJs are unconstitutionally insulated from removal. ..................................7
          B.         The NLRB’s Board Members are unconstitutionally insulated from
                     removal. ...................................................................................................................8
          C.         The NLRB’s adjudication of private rights and legal relief violates the
                     Seventh Amendment. .............................................................................................10
          D.         The NLRB Members’ blending of functions violates the separation of
                     powers and due process. ........................................................................................14
II.       SpaceX will suffer irreparable harm without a preliminary injunction. ............................17
          A.         The unconstitutionality of the NLRB proceedings inflicts irreparable
                     harm. ......................................................................................................................18
          B.         The unconstitutional NLRB proceedings inflict irreparable economic
                     harm. ......................................................................................................................20
III.      The balance of harms and public interest favor a preliminary injunction. ........................21
IV.       Severability arguments cannot defeat SpaceX’s right to a preliminary injunction. ..........22
CONCLUSION ..............................................................................................................................25




                                                                        i
       Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 3 of 34




                                               TABLE OF AUTHORITIES

                                                                                                                              Page(s)

Cases

Alpine Sec. Corp. v. FINRA,
   No. 23-5129, 2023 WL 4703307 (D.C. Cir. July 5, 2023) ......................................................19

Amalgamated Util. Workers v. Consol. Edison Co. of N.Y.,
  309 U.S. 261 (1940) .................................................................................................................13

Assoc. Builders & Contractors of Tex. Gulf Coast, Inc. v. U.S. Dep’t of Energy,
   451 F. Supp. 281 (S.D. Tex. 1978) ..........................................................................................20

Atlas Roofing Co., Inc. v. OSHRC,
    430 U.S. 442 (1977) ...........................................................................................................13, 14

Axon Enter., Inc. v. FTC,
   598 U.S. 175 (2023) ......................................................................................................... passim

Ayotte v. Planned Parenthood of N. New England,
   546 U.S. 320 (2006) ...........................................................................................................22, 25

BST Holdings, L.L.C. v. OSHA,
   17 F.4th 604 (5th Cir. 2021) ....................................................................................................21

Burgess v. FDIC,
   639 F. Supp. 3d 732 (N.D. Tex. 2022) ....................................................................................19

Chauffeurs, Teamsters & Helpers, Loc. No. 391 v. Terry,
   494 U.S. 558 (1990) .................................................................................................................13

Cochran v. SEC,
   20 F.4th 194 (5th Cir. 2021) ....................................................................................................19

Collins v. Dep’t of the Treasury,
   No. 22-20632, 2023 WL 6630307 (5th Cir. Oct. 12, 2023) ....................................................18

Collins v. Yellen,
   141 S. Ct. 1761 (2021) .............................................................................................................10

Community Fin. Servs. Ass’n of Am. Ltd. v. CFPB,
  51 F.4th 616, 625 (5th Cir. 2022) ............................................................................................18

Daniels Health Scis., L.L.C. v. Vascular Health Scis., L.L.C.,
   710 F.3d 579 (5th Cir. 2013) .............................................................................................17, 21




                                                                    ii
       Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 4 of 34




Deerfield Med. Ctr. v. City of Deerfield Beach,
   661 F.2d 328 (5th Cir. 1981) ...................................................................................................18

Doran v. Salem Inn, Inc.,
   422 U.S. 922 (1975) .................................................................................................................22

Fortune v. Nat’l Cash Reg. Co.
   364 N.E.2d 1251 (Mass. 1977) ................................................................................................12

Free Enter. Fund v. PCAOB,
   561 U.S. 477 (2010) ......................................................................................................... passim

Granfinanciera, S.A. v. Nordberg,
   492 U.S. 33 (1989) .............................................................................................................13, 14

Horne v. Polk,
   394 P.3d 651 (Ariz. 2017)..................................................................................................15, 16

Humphrey’s Ex’r v. United States,
  295 U.S. 602 (1935) .............................................................................................................9, 10

Jarkesy v. SEC,
   34 F.4th 446 (5th Cir. 2022) ............................................................................................ passim

League of Women Voters of U.S. v. Newby,
   838 F.3d 1 (D.C. Cir. 2016) .....................................................................................................21

Louisiana v. Biden,
   55 F.4th 1017 (5th Cir. 2022) ..............................................................................................6, 21

Lucia v. SEC,
   138 S. Ct. 2044 (2018) .........................................................................................................8, 24

Mertens v. Hewitt Assocs.,
   508 U.S. 248 (1993) .................................................................................................................12

Myers v. United States,
   272 U.S. 52 (1926) .....................................................................................................................7

Nken v. Holder,
   556 U.S. 418 (2009) .................................................................................................................21

NLRB v. Jones & Laughlin Steel Corp.,
  301 U.S. 1 (1937) ...............................................................................................................13, 14

Oil States Energy Servs., LLC v. Greene’s Energy Grp., LLC,
    138 S. Ct. 1365 (2018) .......................................................................................................13, 14




                                                                    iii
       Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 5 of 34




Overstreet v. El Paso Disposal, L.P.,
   625 F.3d 844 (5th Cir. 2010) .................................................................................................2, 9

Petermann v. Teamsters Loc. 396,
   344 P.2d 25 (Cal. Ct. App. 1959) ............................................................................................12

Ramspeck v. Federal Trial Exam’rs Conf.,
   345 U.S. 128 (1953) .................................................................................................................24

Seila L. LLC v. CFPB,
    140 S. Ct. 2138 (2020) ..................................................................................................... passim

SpaceX v. Bell,
   No. 1:23-cv-00137, 2023 WL 8885128 (S.D. Tex. Nov. 8, 2023) .................................. passim

Stern v. Marshall,
    564 U.S. 462 (2011) ...........................................................................................................14, 21

Thryv, Inc.,
   372 N.L.R.B. No. 22 (Dec. 13, 2022) .............................................................................. passim

Tull v. United States,
    481 U.S. 412 (1987) ...........................................................................................................11, 12

United States v. Nat’l Treas. Emps. Union,
   513 U.S. 454 (1995) .................................................................................................................25

United States v. Texas,
   599 U.S. 670 (2023) ...................................................................................................................9

Ward v. Vill. of Monroeville,
  409 U.S. 57 (1972) ...................................................................................................................19

Westrock Servs., Inc.,
   366 N.L.R.B. No. 157 (Aug. 6, 2018) .......................................................................................8

Williams v. Pennsylvania,
   579 U.S. 1 (2016) ............................................................................................................. passim

Winter v. Nat. Res. Def. Council, Inc.,
   555 U.S. 7 (2008) ...................................................................................................................1, 6

Statutes

5 U.S.C. § 1202(d) ...................................................................................................................2, 7, 8

5 U.S.C. § 7521(a) ...................................................................................................................2, 7, 8

8 U.S.C. § 1324b ............................................................................................................................14


                                                                      iv
       Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 6 of 34




29 U.S.C. § 153(a) .................................................................................................................2, 8, 10

29 U.S.C. § 154 ................................................................................................................................9

29 U.S.C. § 159 ................................................................................................................................9

29 U.S.C. § 160 ................................................................................................................................9

29 U.S.C. § 160(c) ...................................................................................................................11, 17

29 U.S.C. § 160(e) .........................................................................................................................17

29 U.S.C. § 160(f) ..........................................................................................................................17

29 U.S.C. § 160(j) .................................................................................................................. passim

Civil Service Act of 1978, Pub. L. No. 95-454, § 1202(d), 92 Stat. 1111 .....................................24

National Labor Relations Act ................................................................................................ passim

Other Authorities

5 C.F.R. § 1200.1 ...........................................................................................................................24

11A CHARLES ALAN WRIGHT & ARTHUR R. MILLER, FEDERAL PRACTICE AND
   PROCEDURE § 2948.1 (3d ed. 2023) .........................................................................................18

Civil Service Reform: Hearings on H.R. 11280 Before the H. Comm. on Post Off.
   & Civ. Serv., 95th Cong. 824 (1978) .......................................................................................24

Daniel P. O’Gorman, Construing the National Labor Relations Act: The NLRB
   and Methods of Statutory Construction, 81 TEMP. L. REV. 177 (2008)...................................24

FED. R. CIV. P. 65(a) ........................................................................................................................1

General Counsel, Section 10(j) Manual (Feb. 2014), https://www.nlrb.gov/sites/
   default/files/attachments/basic-page/node-1727/MASTER%20REVISED%20
   2013%2010(J)%20MANUAL.pdf ...............................................................................15, 16, 17

Michael J. Heilman, The National Labor Relations Act at Fifty: Roots Revisited,
   Heart Rediscovered, 23 DUQ. L. REV. 1059, 1069 (1985).......................................................25

NAT’L LABOR RELATIONS BD., LEGISLATIVE HISTORY OF THE NATIONAL LABOR
  RELATIONS ACT OF 1935 (1949)...............................................................................................25

U.S. CONST. amend. VII ........................................................................................................ passim

U.S. CONST. amend XIV ................................................................................................................15




                                                                       v
       Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 7 of 34




U.S. CONST. art. II .................................................................................................................. passim

U.S. CONST. art. III ................................................................................................................. passim




                                                                     vi
     Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 8 of 34




       Space Exploration Technologies Corp. (“SpaceX”) respectfully moves for an order

preliminarily enjoining ongoing administrative proceedings against SpaceX, to be entered against

Defendants the National Labor Relations Board (“NLRB”), Jennifer Abruzzo, Lauren M.

McFerran, Marvin E. Kaplan, Gwynne A. Wilcox, and David M. Prouty, and the Administrative

Law Judge (“ALJ”) who will soon be assigned to preside over the administrative hearing. FED. R.

CIV. P. 65(a). The administrative hearing is currently scheduled to begin on March 5, 2024, and

without the requested relief, SpaceX will suffer irreparable harm as described below.

                                         INTRODUCTION

       SpaceX has filed this action to avoid serious and irreparable injuries that it will otherwise

suffer from being subjected to an unconstitutional administrative proceeding. Defendants are

currently prosecuting and presiding over such a proceeding accusing SpaceX of violating federal

law. Because the structure of that proceeding violates the United States Constitution under

Supreme Court and Fifth Circuit precedent, SpaceX respectfully requests an order halting the

NLRB proceedings unless and until the constitutional defects are remedied.

       “A plaintiff seeking a preliminary injunction must establish that he is likely to succeed on

the merits, that he is likely to suffer irreparable harm in the absence of preliminary relief, that the

balance of equities tips in his favor, and that an injunction is in the public interest.” Winter v. Nat.

Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). SpaceX satisfies each of these requirements.

       SpaceX is likely to succeed in establishing that the structure of the NLRB proceedings

violates the Constitution four times over:

       First, the administrative proceeding is being heard by an ALJ who is unconstitutionally

exercising substantial executive functions while being insulated from presidential control in

violation of Article II of the Constitution. Jarkesy v. SEC, 34 F.4th 446, 463 (5th Cir. 2022), cert.

granted, 143 S. Ct. 2688 (2023). Indeed, three different layers of removal protections impede the


                                                   1
     Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 9 of 34




President’s ability to remove the NLRB’s ALJs: (1) while an agency—here the NLRB—may take

steps to remove an ALJ, it may do so “only for good cause established and determined by the Merit

Systems Protection Board [(“MSPB”)],” 5 U.S.C. § 7521(a); (2) the President may remove

members of the MSPB only for “inefficiency, neglect of duty, or malfeasance in office,” 5 U.S.C.

§ 1202(d); and (3) the President may remove NLRB board members only “for neglect of duty or

malfeasance in office, but for no other cause.” 29 U.S.C. § 153(a). In Jarkesy, the Fifth Circuit

held that a matching set of removal restrictions was unconstitutional as applied to ALJs of the

Securities Exchange Commission (“SEC”). 34 F.4th at 463–64. The same conclusion follows here.

       Second, the Members who lead the NLRB are also unconstitutionally insulated from

removal by the President. Article II requires that the President maintain “unrestricted removal

power” over all federal officials “who wield executive power,” subject to only two exceptions.

Seila Law LLC v. CFPB, 140 S. Ct. 2138, 2191–92 (2020). The potentially relevant exception

here—“for multimember expert agencies that do not wield substantial executive power,” id. at

2199-200—is inapplicable because the NLRB does wield substantial executive power. As just one

example, Section 10(j) of the National Labor Relations Act (“NLRA”) gives Board Members “the

power, upon issuance of [an administrative] complaint . . . charging that any person has engaged

in or is engaging in an unfair labor practice, to petition [a] United States district court . . . for

appropriate temporary relief or restraining order.” 29 U.S.C. § 160(j). This “[p]etition power under

§ 10(j) is prosecutorial in nature” and thus a quintessential form of executive power. Overstreet v.

El Paso Disposal, L.P., 625 F.3d 844, 852 (5th Cir. 2010).

       Third, the NLRB proceeding violates SpaceX’s Seventh Amendment jury-trial right by

adjudicating private rights outside the confines of an Article III court. The Board’s General

Counsel alleges that SpaceX wrongfully terminated certain employees and seeks a broad range of




                                                 2
    Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 10 of 34




compensatory monetary damages for those employees. See generally Thryv, Inc., 372 N.L.R.B.

No. 22 (Dec. 13, 2022) (holding that the Board will provide expansive monetary compensation for

wrongfully terminated employees). The Board thus seeks to vindicate private rights for the benefit

of private parties. But because the Constitution only permits the Board to adjudicate public rights

through its non-jury, administrative proceedings, such proceedings violate the Seventh

Amendment. See Jarkesy, 34 F.4th at 451–55 (holding that SEC administrative adjudications

violate the Seventh Amendment “because such claims do not concern public rights alone”).

       Fourth, by exercising prosecutorial, legislative, and adjudicatory authority within the same

proceeding, the NLRB transgresses the separation of powers and violates SpaceX’s due-process

rights. The Supreme Court has held that “an unconstitutional potential for bias exists when the

same person serves as both accuser and adjudicator in a case.” Williams v. Pennsylvania, 579 U.S.

1, 8 (2016). Yet that is exactly what Board Members do when they authorize Section 10(j)

injunctive relief (a prosecutorial function) and then adjudicate and announce new legal rules during

an administrative appeal of an ALJ ruling (judicial and legislative functions). The General

Counsel’s attorneys have conveyed that they plan to seek the Board Members’ authorization for

Section 10(j) proceedings against SpaceX, while ultimately relying on the Board Members to

resolve the administrative proceeding as a whole. In this way, too, the Board’s structure violates

the Constitution’s guarantees and SpaceX’s constitutional rights.

       SpaceX will be irreparably harmed by these violations of its constitutional rights unless the

Court preliminarily enjoins the NLRB proceedings pending a final decision on the merits. Even if

the Court can ultimately cure some of these structural defects in its final judgment, it cannot undo

the injury SpaceX will suffer in the meantime through “subjection to an illegitimate proceeding,

led by an illegitimate decisionmaker” in “proceedings [that] violate the separation of powers.”




                                                 3
    Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 11 of 34




Axon Enter., Inc. v. FTC, 598 U.S. 175, 191 (2023). Under binding Supreme Court precedent, such

harm is “a here-and-now injury” that “is impossible to remedy once the proceeding is over.” Id.

(citation omitted); accord SpaceX v. Bell, No. 1:23-cv-00137, 2023 WL 8885128, at *4 (S.D. Tex.

Nov. 8, 2023) (Olvera, J.). And on top of its constitutional injury, SpaceX will suffer the practical

harms of undergoing an extensive administrative proceeding that distracts from its important

missions, including launching satellites critical to U.S. defense and intelligence agencies and flying

NASA astronauts to space. These harms also will be irreparable even if the Court ultimately finds

that the NLRB’s structural flaws can be corrected prospectively. The balance of equities and public

interest weigh strongly in SpaceX’s favor for similar reasons. See id. at *4.

       Because SpaceX satisfies the preliminary injunction factors for its four claims, this Court

should grant SpaceX’s motion and preliminarily enjoin the NLRB proceedings against it.

                                         BACKGROUND

       SpaceX was founded in 2002 with the audacious goal of making life multiplanetary.

Gallman Decl. (attached as Exhibit A), ¶ 4. Today, SpaceX operates a space launch business and

a global satellite-based internet service known as Starlink. Id. ¶ 5. It employs over 14,000 people

in facilities around the country, including in its Starbase facility in Boca Chica, Texas where it is

developing, manufacturing, and launching Starship, the most powerful rocket ever built; its rocket

development facility in McGregor, Texas; its human spaceflight mission operations and

integration facility in Houston, Texas; its Starlink manufacturing facility in Bastrop, Texas; and

its facilities in Florida, Washington State, California, and Washington, D.C. Id. ¶ 9.

       SpaceX’s missions serve, among others, NASA, various U.S. government defense and

intelligence agencies, commercial customers from around the world, and international space

agencies Id. ¶ 67. Starship—the largest rocket ever built—has been selected by NASA to return

American astronauts to the Moon. Id. ¶ 7. Sending crewed spacecraft to the Moon, the International


                                                  4
    Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 12 of 34




Space Station, and beyond requires the utmost vigilance, discipline, technical excellence, and

teamwork of SpaceX personnel across all its facilities—as does building and maintaining its

constellation of thousands of Starlink satellites and serving millions of Starlink customers in more

than 70 countries around the world. See id. ¶ 20.

       On June 15, 2022, a small group of SpaceX employees sent an open letter (the “Open

Letter”) to almost all SpaceX employees across all of SpaceX’s locations, in many cases flooding

multiple channels of communication, and demanding that SpaceX take certain actions addressing

perceived shortcomings and soliciting employees to fill out a hyperlinked survey to indicate

support for the Open Letter’s demands and provide feedback. Compl. ¶¶ 43–44, ECF No. 1. The

Open Letter overwhelmed many of SpaceX’s communication channels and caused significant

disruption to SpaceX operations around the country, including at Starbase and the other Texas

facilities. It was a blatant and gross violation of company policies. Id. ¶¶ 34, 45. SpaceX discharged

a few of the employees involved with the Open Letter for these policy violations. Id. ¶ 46.

       In November 2022, former SpaceX employees (the “Charging Parties”) filed charges with

the NLRB alleging that SpaceX committed unfair labor practices when it terminated their

employment (the “Charges”). Id. ¶ 47. SpaceX submitted to the NLRB a position statement

refuting the Charging Parties’ allegations, along with supporting evidence. Id. ¶ 48. The position

statement and evidence spanned 700 pages, and its preparation was a burdensome effort.

       On December 14, 2023, the investigating NLRB Region informed SpaceX that it had made

determinations on the Charges and had authorized an administrative complaint against SpaceX on

nearly every single charge, breaking with established legal precedent to avoid narrowing the issues

at all. The NLRB, in its eagerness to subject SpaceX to its burdensome hearing process, seemed

to ignore even basic information provided by SpaceX, such as the supervisory status of one




                                                  5
    Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 13 of 34




charging party (making them exempt from the NLRA’s protections) and clear evidence that

another charging party was actually terminated for a well-documented history of substandard

performance. Id. ¶ 48. On January 3, 2024, the Regional Director for Region 31 issued an order

consolidating the administrative cases, with a consolidated administrative complaint and notice

that an ALJ hearing would occur just two months later, on March 5, 2024. Id. ¶ 49.

       The next day, SpaceX filed this suit seeking preliminary and permanent injunctive relief

and declaratory relief, based on four distinct constitutional problems with the NLRB proceedings.

See generally Compl., ECF No. 1. SpaceX inquired whether the NLRB would agree to stay its

proceedings to give this Court time to adjudicate these issues. Eschbach Decl. (attached as Exhibit

B), ¶¶ 4, 6. The NLRB’s counsel instructed SpaceX to file any request for postponement with the

Regional Office. Id. ¶ 7. SpaceX has now filed such a request with the Regional Office, but the

General Counsel opposes a postponement until after this Court has decided the claims in this

action. Id. ¶ 8 & Ex. B-2. Because SpaceX currently faces a January 17, 2024 deadline to answer

the administrative complaint and is already gearing up for a March 5, 2024 hearing, and because

the General Counsel opposes postponing the administrative proceedings pending this litigation,

time is of the essence. In the ways described above, and others, the administrative proceeding is

causing ongoing harm by requiring SpaceX to devote significant resources preparing for the

unconstitutional administrative proceedings. Gallman Decl. ¶¶ 13–20.

                                            ARGUMENT

       Preliminary injunctive relief is proper when a movant establishes (1) that it is likely to

succeed on the merits, (2) that it is likely to suffer irreparable harm in the absence of preliminary

relief, (3) that the balance of equities tips in its favor, and (4) that an injunction is in the public

interest. Winter, 555 U.S. at 20; see also, e.g., Louisiana v. Biden, 55 F.4th 1017, 1022 (5th Cir.

2022). SpaceX satisfies all four factors.


                                                  6
     Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 14 of 34




I.     SpaceX is likely to succeed on the merits of its constitutional claims.

       A.      NLRB ALJs are unconstitutionally insulated from removal.

       Article II vests all executive power in the President, “who must ‘take Care that the Laws

be faithfully executed.’” Seila L., 140 S. Ct. at 2191. The president does not execute federal law

“alone and unaided.” Myers v. United States, 272 U.S. 52, 117 (1926). “He must execute them by

the assistance of subordinates.” Id. But because the executive responsibility remains vested in the

President, the officers of every administrative agency—including “independent” ones—must be

subject to presidential oversight. See Free Enter. Fund v. PCAOB, 561 U.S. 477, 513–14 (2010).

The Constitution thus requires that the President have the “power to remove—and thus supervise—

those who wield executive power on his behalf.” Seila L., 140 S. Ct. at 2191.

       SpaceX is likely to succeed on the merits of its constitutional challenge to the NLRB ALJs’

removal protections. Indeed, that conclusion is required by existing Fifth Circuit precedent. In

Jarkesy, the Fifth Circuit held that an indistinguishable “statutory removal restrictions” for SEC

ALJs “are unconstitutional.” 34 F.4th at 465. Under 5 U.S.C. § 7521(a), “SEC ALJs may be

removed by the Commission ‘only for good cause established and determined by the [MSPB] on

the record after opportunity for hearing.’” 34 F.4th at 464. And the Fifth Circuit determined that

SEC Commissioners and MSPB members themselves “can only be removed by the President for

cause.” Id.; see 5 U.S.C. § 1202(d) (MSPB members). The SEC ALJs were “sufficiently important

to executing the laws that the Constitution requires that the President be able to exercise authority

over their functions.” Jarkesy, 34 F.4th at 464. But these multiple “layers of for-cause

protection”—for the SEC Commissioners and the MSPB members—unconstitutionally “stand in

the President’s way.” Id. at 465.

       Jarkesy is dispositive. There is no relevant difference between SEC ALJs and NLRB ALJs.

Both are “inferior officers” who “have substantial authority” in agency investigations and


                                                 7
    Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 15 of 34




enforcement actions. Jarkesy, 34 F.4th at 464; see Westrock Servs., Inc., 366 N.L.R.B. No. 157,

slip op. at 1 (Aug. 6, 2018) (“Board judges, like SEC judges, are inferior officers[.]”). And like

SEC ALJs, NLRB ALJs are covered by “at least two layers of for-cause protection” that “stand in

the President’s way.” Jarkesy, 34 F.4th at 465. Indeed, 5 U.S.C. § 7521(a), which allows an

employing agency to remove its ALJs only when the MSPB finds good cause, applies equally to

both sets of ALJs; and 5 U.S.C. § 1202(d) applies equally to the MSPB members in both cases as

well. And the NLRA explicitly creates removal protection for Board Members: they are removable

only “for neglect of duty or malfeasance in office, but for no other cause.” 29 U.S.C. § 153(a). So,

like the SEC ALJs, NLRB ALJs are unconstitutionally insulated from the President’s oversight.

See Jarkesy, 34 F.4th at 464.

       The Jarkesy holding on SEC ALJs is binding on this Court and flows straightforwardly

from prior Supreme Court precedent. See id. at 464–65 (applying Free Enter., 561 U.S. at 495–

508, and Lucia v. SEC, 138 S. Ct. 2044, 2053–54 (2018)). Supreme Court precedent establishes

that multi-layer removal-protection violates Article II because it “not only protects [the inferior

officers] from removal except for good cause, but withdraws from the President any decision on

whether that good cause exists.” Free Enter., 561 U.S. at 495. Under this binding precedent,

SpaceX is likely to—indeed must—prevail on the merits of this claim.

       B.      The NLRB’s Board Members are unconstitutionally insulated from removal.

       The removal protections of the NLRB’s Board Members are unconstitutional as well.

Unlike ALJs, the NLRB Members are not merely inferior officers; they are principal officers who

exercise substantial executive power in administering and enforcing the NLRA. Though they are

appointed by the President and confirmed by the Senate as principal officers, the President is

deprived of his constitutional power to oversee their work because the President can remove them

only “for neglect of duty or malfeasance in office, but for no other cause.” 29 U.S.C. § 153(a).


                                                 8
    Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 16 of 34




Recent Supreme Court precedent strongly suggests that this strict removal protection violates

Article II of the Constitution given the substantial executive power that the Board wields.

        As noted, removal restrictions for executive branch officials are generally unconstitutional.

For principal officers, the Supreme Court has recognized only one narrow exception “for

multimember expert agencies that do not wield substantial executive power.” Seila L., 140 S. Ct.

at 2199–200. This exception originated in Humphrey’s Executor v. United States, 295 U.S. 602,

628 (1935), which determined that the Commissioners of the Federal Trade Commission (“FTC”)

did not at the time exercise “executive power in the constitutional sense.” Id. at 628.

        Whatever might have been true of FTC Commissioners in 1935, NLRB Members exercise

substantial executive power through their administrative, policymaking, and prosecutorial

authority. They enforce the NLRA in many ways, including, for example, determining appropriate

units for the purpose of collective bargaining, directing representation elections, deciding unfair

labor practice charges, and seeking enforcement of unfair labor practice orders in federal court. 29

U.S.C. §§ 159, 160. They also have authority to appoint inferior officers including the executive

secretary, attorneys, examiners, regional directors, ALJs, and others. Id. § 154.

        The Board Members’ executive functions are clearly seen in NLRA Section 10(j), which

gives the Board quintessentially prosecutorial power: “[t]he Board shall have power . . . to petition

[a] United States district court . . . for appropriate temporary relief or restraining order” in response

to an alleged unfair labor practice. Id. § 160(j). As the Fifth Circuit has found, this petition power

“is prosecutorial in nature.” Overstreet, 625 F.3d at 852. And prosecuting someone for alleged

violations of federal law lies at the heart of the Constitution’s concept of Executive Power. See,

e.g., United States v. Texas, 599 U.S. 670, 678–79 (2023); Seila L., 140 S. Ct. at 2200.

        Additionally, the removal protections for NLRB Members are also stricter than those that




                                                   9
    Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 17 of 34




insulated the FTC Commissioners in 1935 (and still do). The latter are removable “for inefficiency,

neglect of duty, or malfeasance in office,” Humphrey’s Ex’r, 295 U.S. at 620 (quoting 15 U.S.C.

§ 41). NLRB Members, in contrast, are removably only “for neglect of duty or malfeasance in

office,” but not for other causes like inefficiency, 29 U.S.C. § 153(a). Allowing Congress to

eliminate the President’s ability to remove principal officers for inefficiency would be an

unjustified expansion of Humphrey’s Executor. See Collins v. Yellen, 141 S. Ct. 1761, 1787 (2021)

(“The President must be able to remove not just officers who disobey his commands but also those

he finds ‘negligent and inefficient[.]’” (quoting Myers, 272 U.S. at 135)).

       The Supreme Court has repeatedly declined to expand Humphrey’s Executor. For example,

in Free Enterprise, the Court held that Humphrey’s Executor does not apply when inferior officers

are shielded by two layers of removal protections. Free Enter., 461 U.S. at 493. In Seila Law and

Collins, the Court confirmed that Humphrey’s Executor does not apply when an independent

agency is led by a single director. Seila L., 140 S. Ct. at 2192; Collins, 141 S. Ct. at 1783–84.

Indeed, Humphrey’s Executor has recently been called into serious question. See, e.g., Seila L.,

140 S. Ct. at 2198 n.2; id. at 2217 (Thomas, J., concurring in part and dissenting in part). While

recognizing that only the Supreme Court has the prerogative to overrule its own decisions, SpaceX

expressly preserves the argument that Humphrey’s Executor should be overturned, particularly

given more recent precedent. Id. But the key point here is that there is no basis to expand

Humphrey’s Executor to NLRB Members, who wield greater executive power than the 1935 FTC

yet are more protected from presidential oversight. SpaceX is likely to prevail on this claim, too.

       C.      The NLRB’s adjudication of private rights and legal relief violates the Seventh
               Amendment.

       The NLRB proceeding against SpaceX also violates the Seventh Amendment, which

preserves the right to trial by jury “[i]n Suits at common law.” U.S. CONST. amend. VII. Today’s



                                                10
    Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 18 of 34




Board claims authority to award extensive compensatory damages to make employees whole for

alleged violations of their legal rights. This effort to adjudicate private rights and afford legal relief

without the safeguards of juries and an impartial judiciary, as Article III requires, far exceeds the

constitutional bounds for administrative adjudications.

        The Fifth Circuit has recently reaffirmed that the right to trial by jury “is a ‘fundamental’

component” of the American legal system and “one of our most vital barriers to governmental

arbitrariness.” Jarkesy, 34 F.4th at 452 (citation omitted). In applying the Seventh Amendment, a

court must determine (1) “whether [the] action’s claims arise ‘at common law’ under the Seventh

Amendment” and, if so, (2) “whether the Supreme Court’s public-rights cases nonetheless permit

Congress to assign it to agency adjudication without a jury trial.” Id. at 453 (citation omitted).

“This analysis applies not only to common-law forms of action, but also to causes of action created

by congressional enactment.” Tull v. United States, 481 U.S. 412, 417 (1987).

        The NLRB proceeding against SpaceX involves claims that arise at common law within

the meaning of Jarkesy and Tull. The Board has lately taken the view that it may, and should,

award broad monetary relief “to compensate affected employees for all direct or foreseeable

pecuniary harms that these employees suffer as a result of the [employer’s] unfair labor practice.”

See Thryv, 372 N.L.R.B. No. 22, slip op. at 1. This compensation includes not just backpay, see

29 U.S.C. § 160(c), but also such items as “interest and late fees on credit cards” and other “credit

card debt,” “penalties” based on “early withdrawals” from a “retirement account” to cover living

expenses, compensation for loss of a “car” or “home” based on an inability “to make loan or

mortgage payments” or “rent,” and new or increased “transportation or childcare costs,” among

other things. Thryv, 372 N.L.R.B. No. 22, slip op. at 9–10 (citation omitted). Other than backpay,

these categories of monetary relief are not found in the statute. But the Board has nonetheless




                                                   11
     Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 19 of 34




authorized them to “mak[e] employees whole” and “to restore the wronged to the position he

would have occupied but for the action of the wrongdoer.” Id. at 8, 10 (citation omitted); see also

id. at 12.

        In accordance with Thryv, the NLRB’s administrative complaint against SpaceX specifies

that the General Counsel seeks all relief as may be just and proper to remedy the unfair labor

practices alleged. See Eschbach Decl., Ex. B-1 at 9. Under current Board precedent, this relief

would include the newly authorized damages “to compensate [unlawfully terminated] employees

for all direct or foreseeable pecuniary harms that these employees suffer as a result of” the unlawful

termination. Thryv, 372 N.L.R.B. No. 22, slip op. at 1.

        The Supreme Court has recognized that “compensatory damages,” or “monetary relief for

all losses . . . sustained as a result of the alleged breach of . . . duties,” are “the classic form of legal

relief.” Mertens v. Hewitt Assocs., 508 U.S. 248, 255 (1993) (some emphasis omitted). And an

action by an employee against an employer seeking full compensation arising from an alleged

wrongful discharge is akin to a proceeding seeking compensatory and consequential damages for

a breach of contract or for a tort. Cf. Fortune v. Nat'l Cash Reg. Co. 364 N.E.2d 1251, 1257 (Mass.

1977) (treating bad-faith discharge of an at-will employee as a breach of contract); Petermann v.

Teamsters Loc. 396, 344 P.2d 25, 27–28 (Cal. Ct. App. 1959) (recognizing cause of action for

discharge in violation of public policy). For this reason, the Board’s administrative proceeding

against SpaceX is “more similar to cases that were tried in courts of law than to suits tried in courts

of equity or admiralty.” Tull, 481 U.S. at 417.1

        The public-rights doctrine does not authorize Congress to assign these claims to



1
 SpaceX believes backpay is compensatory relief and thus legal in nature, but even if backpay
were considered equitable, the other forms or relief recently authorized by the NLRB in Thryv and
sought in the administrative proceedings are clearly compensatory and thus legal in nature.


                                                     12
    Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 20 of 34




administrative agencies. Again, the Board’s admitted purpose is “making employees whole” and

remedying the private wrong. Thryv, 372 N.L.R.B. No. 22, slip op. at 8, 10, 12. In this way, the

Board is explicitly aiming beyond the vindication of public rights—“the public interest in effecting

federal labor policy”—and instead focusing on “the wrong done the individual employee.”

Chauffeurs, Teamsters & Helpers, Loc. No. 391 v. Terry, 494 U.S. 558, 573 (1990) (citation

omitted). Denying the Board the ability to award this form of compensation would not “dismantle

the statutory scheme.” Jarkesy, 34 F.4th at 455. “Common-law courts have [awarded

compensatory damages] for centuries,” id., yet the Board’s latest claim of authority to do so is a

novelty, not something expressly authorized by the statute itself.

       The fact that the original design of the NLRB may have passed constitutional scrutiny

under the Seventh Amendment, see NLRB v. Jones & Laughlin Steel Corp., 301 U.S. 1, 47 (1937);

Atlas Roofing Co., Inc. v. OSHRC, 430 U.S. 442, 453 (1977), does not mean that the agency’s

current operations do. Nor, in any event, would Congress have carte blanche to ignore the Seventh

Amendment and Article III, even if it had wanted to do so, simply by creating a new statutory

framework and administrative agency. Congress cannot “conjure away the Seventh Amendment

by mandating that traditional legal claims” proceed before “an administrative tribunal.”

Granfinanciera, S.A. v. Nordberg, 492 U.S. 33, 52 (1989); see also Oil States Energy Servs., LLC

v. Greene’s Energy Grp., LLC, 138 S. Ct. 1365, 1372–73 (2018) (“Congress cannot ‘confer the

Government’s “judicial Power” on entities outside Article III.’”). As originally conceived, the

NLRB was limited to awarding the narrow relief enumerated in the statute, consistent with the

Board’s mandate to act as “as a public agent” rather than a provider of a “private administrative

remedy.” Amalgamated Util. Workers v. Consol. Edison Co. of N.Y., 309 U.S. 261, 265, 269 (1940)

(citation omitted). Now, however, the Board aims to provide full compensatory relief to make




                                                13
    Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 21 of 34




private individuals whole—i.e., private legal remedies—violating the Seventh Amendment and

thus Article III as well. See Oil States, 138 S. Ct. at 1379 (noting the connection between the

Seventh Amendment right and Article III).

       The Thryv majority’s decision to become a source of compensatory damages to remedy

private wrongs readily differentiates this case from Bell, where this Court preliminarily found,

pending further summary judgment briefing, that 8 U.S.C. § 1324b administrative proceedings,

which enforce “immigration and employment laws” through a set of enumerated remedies that

include specific monetary penalties, “protect[ed] public rights and are thus excepted from the

Seventh Amendment.” 2023 WL 8885128, at *5. The broad compensatory monetary damages at

issue in the Board’s administrative proceeding is not a vindication of public rights but an effort to

adjudicate private rights focused on the alleged wrong done to the individual employees identified

in the charge. See, e.g., Stern v. Marshall, 564 U.S. 462, 489 (2011) (observing that “the liability

of one individual to another under the law” is a matter “of private right” (citation omitted)). Under

Jarkesy and the Supreme Court precedent that it implements, SpaceX is likely to succeed on the

merits of this claim.2

       D.      The NLRB Members’ blending of functions violates the separation of powers
               and due process.

       The final structural constitutional defect in the NLRB’s proceedings against SpaceX is the

combination of both prosecutorial and adjudicative functions by the Board Members. The Regional



2
 SpaceX expressly preserves the argument that the Supreme Court should revisit Jones &
Laughlin and Atlas Roofing to the extent that they could be read more broadly as allowing the
NLRB to adjudicate disputes between employers and employees. See, e.g., Granfinanciera, 492
U.S. at 66 (Scalia, J., concurring in part and concurring in the judgment) (“The notion that the
power to adjudicate a legal controversy between two private parties may be assigned to a non-
Article III, yet federal, tribunal is entirely inconsistent with the origins of the public rights
doctrine.”).


                                                 14
    Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 22 of 34




Director has indicated that it has submitted or will soon submit to the NLRB’s Injunction Litigation

Branch a recommendation on whether the Board Members should petition a federal court for

injunctive relief under Section 10(j) of the NLRA. See Compl. ¶ 128; ECF No. 29 at 4, 11 n.59.

Under the Board’s procedures, the Board Members themselves authorize decisions to seek Section

10(j) relief,3 but then also preside over administrative appeals from NLRB ALJs’ unfair labor

practice decisions involving the same subject matter. In other words, when Board Members accept

a recommendation to file a Section 10(j) petition, they act both as prosecutors and adjudicators.

       The Constitution does not permit the same agency officials to be both prosecutors and

judges. Even for state officials, the Supreme Court has held that “an unconstitutional potential for

bias exists when the same person serves as both accuser and adjudicator in a case.” Williams, 579

U.S. at 8. In Williams, the Supreme Court held that a state supreme court justice violated the

Fourteenth Amendment Due Process Clause by participating in postconviction review proceedings

in a death-penalty case whose prosecution he had authorized decades earlier. 579 U.S. at 4–7. The

Court concluded that the justice’s dual prosecutorial and adjudicative roles violated “[t]he due

process guarantee that ‘no man can be a judge in his own case.’” Id. at 9. The Constitution therefore

mandated that the prior prosecutor recuse from serving as an adjudicator. Id. at 16.

       This constitutional principle applies equally in the agency context, as the Arizona Supreme

Court explained in Horne v. Polk, 394 P.3d 651 (Ariz. 2017). There, the court reviewed a due-

process challenge to the dual roles a “Special Arizona Attorney General” played when both

prosecuting a violation of the Arizona campaign finance laws and reviewing (and rejecting in part)

the ALJ’s recommendation. In analyzing the constitutional challenge, the Arizona Supreme Court



3
 See Office of the General Counsel, Section 10(j) Manual §§ 5.2–5.5, at 13–16 (Feb. 2014),
https://www.nlrb.gov/sites/default/files/attachments/basic-page/node-1727/MASTER%20
REVISED%202013%2010(J)%20MANUAL.pdf.


                                                 15
    Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 23 of 34




concluded that both federal and state law (including Williams) dictated “that due process does not

allow the same person to serve as an accuser, advocate, and final decisionmaker in an agency

adjudication.” Id. at 659. While “[t]he agency head may supervise personnel involved in such

functions . . . if she makes the final agency decision, she must be isolated from advocacy functions

and strategic prosecutorial decisionmaking and must supervise personnel involved in those

functions in an arms-length fashion.” Id. Because the Special Arizona Attorney General “assumed

an advocacy role during the ALJ proceedings,” the court concluded that “the due process guarantee

prohibited her from then serving as the final adjudicator” on appeal. Id.

       The Section 10(j) approval process that is evidently already underway against SpaceX4

violates not just due process principles but also the separation of powers rules that apply within

the federal government. Because a Section 10(j) proceeding seeks preliminary injunctive relief,

the decision also rests on whether the alleged violations threaten “irreparable harm” to the Board

or the Charging Parties. Section 10(j) Manual, supra, §§ 4.0, 5.2.1, at 10, 13. In these ways, NLRB

Members who grant their approval to request Section 10(j) relief express their assessment that (1)

the subject of the enforcement proceeding is likely to lose on the merits of the case and (2) the

NLRB’s interests outweigh the subject’s interests.

       This approval process is far from neutral. By design, the NLRB’s Section 10(j) approval

process relies primarily on the presentation in the “Go 10(j)” memorandum prepared by one side—

the NLRB inferior officers who wish to litigate the alleged statutory violations. This memorandum

provides the administrators’ views about “the relevant facts and legal arguments and authorities

establishing the violations,” the NLRB officials’ “responses to defenses raised by the [charged




4
 In its Motion to Transfer (ECF No. 29 at 11 n.59), the NLRB admits that a Section 10(j)
proceeding against SpaceX “is being considered.”


                                                16
      Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 24 of 34




party],” and the administrators’ “responses [to the charged party’s] arguments against 10(j)” relief.

Section 10(j) Manual, supra, § 5.2.1, at 13. Even after relying on this one-sided presentation of the

facts and law as their primary basis for authorizing Section 10(j) proceedings, the same NLRB

Members often judge whether the same charged parties have engaged in the alleged unfair labor

practices, and issue findings of fact, orders, and remedies that are then subject to deferential

judicial review. 29 U.S.C. § 160(c), (e)–(f).

        After having placed their imprimatur on a federal-court filing that alleges, on behalf of the

NLRB itself, that a specific party has likely violated the NLRA in ways that cause irreparable harm

to the Board or third parties, there is a substantial risk that such NLRB Members will be

“psychologically wedded” to that position when they adjudicate the administrative complaint.

Williams, 579 U.S. at 11 (citation omitted). If, in the meantime, the agency’s bid for Section 10(j)

relief has succeeded, that risk is even greater. For Board Members might “be influenced by an

improper, if inadvertent, motive to validate and preserve the result obtained through the adversary

process” in federal court. Id. The Constitution prohibits adjudicative proceedings that are tainted

in this way, and SpaceX is likely to succeed on this claim also.

II.     SpaceX will suffer irreparable harm without a preliminary injunction.

        SpaceX also meets the second requirement for a preliminary injunction: irreparable harm.

Without preliminary relief from this Court, SpaceX will be required to undergo an unconstitutional

proceeding before an insufficiently accountable agency official, without the jury it is entitled to,

and without the basic due process of an unbiased decisionmaker consistent with the separation of

powers. None of these constitutional injuries would be remediable after the administrative process.

Unless this Court grants a preliminary injunction blocking the NLRB proceedings, SpaceX will

suffer “harm for which there is no adequate remedy at law.” Daniels Health Scis., L.L.C. v.

Vascular Health Scis., L.L.C., 710 F.3d 579, 585 (5th Cir. 2013).


                                                 17
    Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 25 of 34




       A.      The unconstitutionality of the NLRB proceedings inflicts irreparable harm.

       In general, deprivations of constitutional rights are irreparable injuries, as this Court has

recognized. Bell, 2023 WL 8885128, at *4 (“Deprivation of a constitutional right unquestionably

constitutes irreparable injury.” (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)). Other

authorities are in accord. See, e.g., Deerfield Med. Ctr. v. City of Deerfield Beach, 661 F.2d 328,

338 (5th Cir. 1981) (denial of constitutional rights “for even minimal periods of time constitutes

irreparable injury”); 11A CHARLES ALAN WRIGHT & ARTHUR R. MILLER, FEDERAL PRACTICE AND

PROCEDURE § 2948.1 (3d ed. 2023) (Where “deprivation of a constitutional right is involved, . . .

most courts hold that no further showing of irreparable injury is necessary.”).

       And the Supreme Court recently held that a party that is subject to a proceeding before a

decisionmaker who is unconstitutionally insulated from presidential oversight suffers irreparable

harm. Axon, 598 U.S. at 191. The Court recognized that “being subjected to unconstitutional

agency authority . . . by an unaccountable ALJ . . . is a here-and-now injury” that is “impossible to

remedy once the proceeding is over.” Id. An appellate court “could of course vacate the [agency]’s

order,” but a “separation-of-powers claim” challenging unconstitutional removal protections “is

not about that order.” Id. Such a claim “is about subjection to an illegitimate proceeding, led by an

illegitimate decisionmaker.” Id. And once the proceeding has concluded, a court is unable to

remedy that harm: “[a] proceeding that has already happened cannot be undone,” and so “[j]udicial

review . . . would come too late to be meaningful.” Id. at 191–92. This reasoning is directly

applicable to both of SpaceX’s removal-protection claims.

       The NLRB may point to inapposite cases where courts have refused to invalidate agency

action taken by unconstitutionally insulated Executive Branch officials. See, e.g., Community Fin.

Servs. Ass’n of Am. Ltd. v. CFPB, 51 F.4th 616, 625 (5th Cir. 2022) (plaintiffs sought to enjoin

enforcement of already-promulgated regulation); Collins v. Dep’t of the Treasury, No. 22-20632,


                                                 18
    Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 26 of 34




2023 WL 6630307, at *7 (5th Cir. Oct. 12, 2023). Such cases are not on-point because they did

not reject the availability of relief from the continuing burdens of ongoing unconstitutional

proceedings. The Supreme Court has made clear that a challenge to an agency’s “power to proceed

at all” differs from a challenge to “action[s] [already] taken in the agency proceedings.” Axon, 598

U.S. at 192. Being subjected “to an illegitimate proceeding, led by an illegitimate decisionmaker,”

again, is a constitutional injury that “cannot be undone” after the fact. Id. at 191; see also Cochran

v. SEC, 20 F.4th 194, 212-213 (5th Cir. 2021), aff’d and remanded sub nom., Axon, 598 U.S. 175

(if removal claim is “meritorious,” plaintiff should not be “forc[ed] to litigate before an ALJ who

is unconstitutionally insulated from presidential control”); Alpine Sec. Corp. v. FINRA, No. 23-

5129, 2023 WL 4703307, at *3 (D.C. Cir. July 5, 2023) (Walker, J., concurring) (finding an

injunction of an administrative adjudication pending appeal appropriate based on Axon because

the plaintiff was likely to prevail on claim that officers were unlawfully “shielded from removal”).

       The deprivation of SpaceX’s right to a jury during the NLRB proceedings will also create

irreparable harm. Because SpaceX is “entitled under the Seventh Amendment to a jury trial, the

irreparable injury requirement is automatically satisfied without the need to consider Plaintiff’s

particular showings.” Burgess v. FDIC, 639 F. Supp. 3d 732, 749 (N.D. Tex. 2022). As with having

to proceed before unaccountable executive officials, having to proceed without a jury outside an

Article III court cannot be remedied after the proceeding has already run its course. Cf. Ward v.

Vill. of Monroeville, 409 U.S. 57, 61–62 (1972) (A flawed adjudicative process cannot “be deemed

constitutionally acceptable simply because the State eventually offers a defendant an impartial

adjudication. Petitioner is entitled to a neutral and detached judge in the first instance.”).

       Proceeding before biased adjudicators is an irreparable injury as well. Even if a court

eventually orders a rehearing without participation by any Board Members who authorized the




                                                  19
    Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 27 of 34




Section 10(j) petition, this may not “guarantee complete relief.” Williams, 579 U.S. at 16. For

example, any newer Board Members appointed after the Section 10(j) petition who preside over

the eventual administrative appeal and are “exposed to a disqualified [Member]” who did authorize

the petition, may be “influenced by their colleague’s views when they rehear the case.” Id. And,

more broadly, being “deprived of procedural due process . . . is in itself irreparable injury.” Assoc.

Builders & Contractors of Tex. Gulf Coast, Inc. v. U.S. Dep’t of Energy, 451 F. Supp. 281, 286

(S.D. Tex. 1978). In short, each constitutional claim poses its own irreparable harm.

       B.      The unconstitutional NLRB proceedings inflict irreparable economic harm.

       While the unconstitutional nature of the proceeding is enough to establish irreparable harm,

the record reflects that the real-world burdens of that proceeding constitute additional irreparable

harm. Responding to the charges and preparing for the upcoming hearing has involved and will

continue to involve extensive preparation by SpaceX and its counsel. Gallman Decl. ¶¶ 13-17. This

comes at a time when SpaceX is preparing for numerous challenging missions, including national

security missions for U.S. defense/intelligence agencies and flying astronauts for NASA and

civilian spaceflight participants. Id. ¶¶ 18-19. Having to prepare for and participate in the NLRB

proceedings imposes significant burdens on employee time and company resources. Id. ¶¶ 17, 20.

In addition, the existence of the NLRB’s complaint and media coverage of the proceedings are

likely to hurt SpaceX’s reputation and thus its ability to compete for and retrain talent, as SpaceX

values its reputation as a leading engineering employer while the government publicly (and falsely)

portrays SpaceX as having engaged in unfair labor practices. Id. ¶¶ 21-23. The federal government

often uses these financial and reputational harms to its advantage. Cf. Axon, 598 U.S. at 216

(Gorsuch, J., concurring) (“Aware, too, that few can outlast or outspend the federal government,

agencies sometimes use this as leverage to extract settlement terms they could not lawfully obtain

any other way.”). But there is no way to recover the lost time, money, or talent caused by these


                                                 20
       Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 28 of 34




proceedings, even if SpaceX is eventually successful in getting an administrative rehearing that

avoids the constitutional defects identified above. Without a stay of these proceedings until the

Court can award a constitutionally adequate remedy, SpaceX will suffer concrete harm that will

not be recoverable.

III.     The balance of harms and public interest favor a preliminary injunction.

         SpaceX satisfies the two remaining preliminary injunctive factors as well. Where, as here,

the government is a defendant, the balance of harms and the public interest factors merge. Nken v.

Holder, 556 U.S. 418, 435 (2009). Both factors tilt strongly in favor of SpaceX. Given its

likelihood of success on the merits, an injunction would not harm Defendants because the

government suffers no cognizable harm from stopping “the perpetuation of unlawful agency

action.” League of Women Voters of U.S. v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016); see also, e.g.,

BST Holdings, L.L.C. v. OSHA, 17 F.4th 604, 618 (5th Cir. 2021). Nor would an injunction

“disserve the public interest.” Louisiana, 55 F.4th at 1022; see also BST Holdings, 17 F.4th at 618;

Daniels Health Scis., 710 F.3d at 585 (“[T]he public is served when the law is followed.”); League

of Women Voters, 838 F.3d at 12. It is not in the public interest to have an increasingly expansive

Executive Branch that nonetheless “slip[s] from the Executive’s control, and thus from that of the

people,” Free Enter., 561 U.S. at 499, or that infringes the constitutional imperative that “the

judiciary remain[] truly distinct from . . . the executive,” Stern, 564 U.S. at 483 (alteration in

original) (quoting THE FEDERALIST No. 78, at 466 (Alexander Hamilton) (C. Rossiter ed. 1961)).

And even if the Court grants the injunction but ultimately determines the proceedings are

constitutional (or fixes the constitutional defects), Defendants could then proceed with the NLRB

proceedings at that time. The NLRB took from November 16, 2022 until January 3, 2024 to file a

complaint on the employees’ charges. Compl. ¶¶ 47-50. A brief additional delay would not work

any meaningful harm.


                                                21
      Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 29 of 34




IV.     Severability arguments cannot defeat SpaceX’s right to a preliminary injunction.

        SpaceX anticipates that Defendants may argue against a preliminary injunction on the

premise that any constitutional defects that may exist within the NLRA are severable from the

statute as a whole. In Bell, this Court declined to issue a preliminary injunction on the removal-

protection claims there based on a finding of severability. 2023 WL 8885128, at *5. SpaceX

respectfully submits that the possibility of ultimately severing unconstitutional provisions from the

NLRA does not detract from SpaceX’s entitlement to a preliminary injunction now.

        The question of severability is relevant to the scope of the remedy at final judgment, not

whether SpaceX is entitled to preliminary relief pending the Court’s final decision. See Ayotte v.

Planned Parenthood of N. New England, 546 U.S. 320, 328, (2006) (describing severability as “a

question of remedy”). Courts may issue a preliminary injunction to preserve parties’ rights even if

the ultimate relief they could receive differs from the requested preliminary injunctive relief. See

e.g., Doran v. Salem Inn, Inc., 422 U.S. 922, 931 (1975) (noting that a party seeking only

declaratory relief was still entitled to a preliminary injunction because “prior to final judgment

there is no established declaratory remedy comparable to a preliminary injunction; unless

preliminary relief is available upon a proper showing, plaintiffs in some situations may suffer

unnecessary and substantial irreparable harm”). So even if the unconstitutional statutory provisions

here could all ultimately be severed at final judgment without impeding other aspects of the

NLRB’s functions, such a possibility neither undermines SpaceX’s likelihood of success on the

merits of its constitutional claims nor its demonstration of irreparable harm in the meantime.

        As to likelihood of success, the severability of an unconstitutional provision would not

mean that SpaceX’s claim fails. Just the opposite: SpaceX seeks declaratory relief as well as

injunctive relief. For example, in Free Enterprise, the Supreme Court severed an unconstitutional

removal protection, but still ruled in the challengers’ favor: even though the challengers were “not


                                                 22
    Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 30 of 34




entitled to broad injunctive relief against the [PCAOB’s] continued operations,” they were still

“entitled to declaratory relief sufficient to ensure that the [legal] standards to which they are subject

will be enforced only by a constitutional agency accountable to the Executive.” 561 U.S. at 513.

SpaceX seeks and is entitled that same relief here, even if the Court ultimately determines not to

permanently enjoin the NLRB’s operations.

        And as to irreparable harm, once again, the Supreme Court has recognized the “here-and-

now injury” that exists when a party is subject to an unconstitutional administrative proceeding.

Axon, 598 U.S. at 191. SpaceX “will lose [its] rights not to undergo the complained-of agency

proceedings if they cannot assert those rights until the proceedings are over.” Id. at 192. Without

a stay or other postponement of the NLRB proceedings, much of those proceedings will have

already happened by the time the Court issues a final decision on the merits of SpaceX’s claims.

At that point, a declaratory remedy would no longer be able to fully repair the constitutional harm.

        In any event, this case is a particularly bad candidate to make the availability of preliminary

injunctive relief turn on the possibility of severing unconstitutional provisions. The severability

questions here are much more daunting than in Bell. The removal-protection problems here are

markedly worse than in Bell, where ALJ in the Office of the Chief Administrative Hearing Officer

(“OCAHO”) was subject to for-cause removal by the Attorney General, an official who is already

removable at will. So severing the removal protections for the ALJ and the MSPB members “make

the OCAHO ALJs accountable to the President.” Bell, 2023 WL 8885128, at *5. In this case, by

contrast, severing those same provisions would not necessarily fix the problems, because the ALJs

are subject to for-cause removal by the NLRB Members, who are not removable at will. Even if

the President can remove MSPB Members without cause, and even if the NLRB can remove its

ALJs without cause, such ALJs still are not directly accountable to the President because the NLRB




                                                   23
    Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 31 of 34




Members’ removal protection would remain a barrier. Put differently, while the ALJs in Bell had

two layers of removal protection, the ALJs here have three. And it is not at all clear which of the

removal protections, if any, Congress would have been willing to give up.

       On the one hand, the removal protections that the APA gives to ALJs are “a central part of

the Act’s overall scheme.” Lucia, 138 S. Ct. at 2060 (Breyer, J., concurring in the judgment in

part) (explaining that the APA’s creation of independent ALJs was, in part, a response to

complaints about “the perceived ‘evils’ of commingling adjudicative and prosecutorial functions

in agencies” (quoting Wong Yang Sung v. McGrath, 339 U.S. 33, 41–46 (1950)). Congress enacted

and, over time, refined these protections so ALJs would not be perceived as “mere tools of the

agency concerned and subservient to the agency heads.” Ramspeck v. Federal Trial Exam’rs Conf.,

345 U.S. 128, 130 (1953). To that end, Congress eventually created the MSPB in the Civil Service

Act of 1978, Pub. L. No. 95-454, § 1202(d), 92 Stat. 1111, and provisions designed to “confer

upon [MSPB] members a tenure akin to that of the Federal judiciary.” Civil Service Reform:

Hearings on H.R. 11280 Before the H. Comm. on Post Off. & Civ. Serv., 95th Cong. 824 (1978);

see 5 C.F.R. § 1200.1 (“The [MSPB] is an independent Government agency that operates like a

court.”). Severing the ALJ and MSPB removal protections would override Congress’s choices.

       At the same time, Congress also designed the NLRB to be an independent agency insulated

from presidential, and thus political, control. Both the text of the provision creating the Board and

the legislative history make clear that “Congress wanted the Board to be independent of the

executive branch.” Daniel P. O’Gorman, Construing the National Labor Relations Act: The NLRB

and Methods of Statutory Construction, 81 TEMP. L. REV. 177, 183 (2008). Senator Wagner, the

key architect of the original NLRA (often called the “Wagner Act”), stated that the creation of the

NLRB was a response to pleas “for a dignified administrative tribunal, detached from any




                                                 24
    Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 32 of 34




particular administration that happens to be in power, and entitled to deal quasi-judicially with

issues with which the courts have neither the time nor the special facilities to cope.” NAT’L LABOR

RELATIONS BD., LEGISLATIVE HISTORY OF THE NATIONAL LABOR RELATIONS ACT OF 1935, at 1428

(1949). The NLRB was designed against the backdrop of a prior labor board, the National Labor

Board, which was seen as ineffective because of its reliance on the Justice Department to enforce

its orders and which answered directly to the President. See Michael J. Heilman, The National

Labor Relations Act at Fifty: Roots Revisited, Heart Rediscovered, 23 DUQ. L. REV. 1059, 1069

(1985). This history is very different from that which the Court considered in addressing

severability in Seila Law, where the petitioners failed to show that the independence of the

Consumer Financial Protection Board (“CFPB”) was a driving factor for establishing the agency.

Seila Law 140 S. Ct. at 2210.

       Given the interrelationship between these statutes, deciding which removal restrictions to

sever is a difficult question better suited to full briefing on the merits rather than a preliminary

injunction decision, or better yet to Congress. Each of the three removal protections reflects

Congress’s conscious decision to instill administrative proceedings with political independence

(rather than political accountability). And deciding at this juncture to sever one, two, or three of

these deliberately adopted provisions risks “circumvent[ing] the intent of the legislature,” Ayotte,

546 U.S. at 330, and violating the “obligation to avoid judicial legislation,” United States v. Nat’l

Treas. Emps. Union, 513 U.S. 454, 479 (1995). Severability should be addressed a later stage

and/or in a different branch, and SpaceX’s right to avoid unconstitutional administrative

proceedings should be protected in the meantime.

                                         CONCLUSION

       For all these reasons, the Court should enter a preliminary injunction against the NLRB’s

administrative proceedings against SpaceX.


                                                 25
   Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 33 of 34




Dated: January 12, 2024          Respectfully submitted,

                                 By:        s/ Catherine L. Eschbach

                                 MORGAN LEWIS & BOCKIUS LLP
                                 Catherine L. Eschbach
                                 Attorney-In-Charge
                                 1000 Louisiana Street, Suite 4000
                                 Houston, TX 77002-5006
                                 catherine.eschbach@morganlewis.com
                                 (713) 890-5719

                                 Harry I. Johnson, III (pro hac vice)
                                 2049 Century Park East, Suite 700
                                 Los Angeles, CA 90067-3109
                                 (310) 907-1000

                                 Michael E. Kenneally (pro hac vice)
                                 Amanda L. Salz (pro hac vice)
                                 1111 Pennsylvania Avenue, N.W.
                                 Washington, DC 20004-2541
                                 michael.kenneally@morganlewis.com
                                 amanda.salz@morganlewis.com
                                 (202) 739-3000

                                 Attorneys for Plaintiff
                                 Space Exploration Technologies Corp.




                                       26
    Case 1:24-cv-00001 Document 37 Filed on 01/12/24 in TXSD Page 34 of 34




                             CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule 7.1(d), I hereby certify that on January 12, 2024, I conferred with

counsel for the Defendants via email, who represented that Defendants oppose the foregoing

motion.


                                                             s/ Catherine L. Eschbach
                                                                Catherine L. Eschbach




                                CERTIFICATE OF SERVICE

       I hereby certify that on January 12, 2024, I electronically filed the foregoing with the Clerk

of the Court using the ECF system, which will send notification to all parties of record.



                                                             s/ Catherine L. Eschbach
                                                                Catherine L. Eschbach




                                                27
